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                Exhibit 7
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRCT OF NEW YORK

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THE ST ATE OF NEW YORK and THE CITY OF
NEW YORK,

                                             Plaintiffs,
                                                                     Case No. 1:15-cv-1136-KBF
                                   V.
                                                                     AFFIDAVIT OF
UNITED PARCEL SERVICE, INC.,                                         DR. SONIA ANGELL

                                             Defendant.

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STATE OF NEW YORK  )
                   ) :ss.
COUNTY OF NEW YORK )

Dr. Sonia Angell, being duly sworn, deposes and says:

    1. I am the Deputy Commissioner of the Division of Prevention and Primary Care, New York

         City Department of Health and Mental Hygiene.

    2. I graduated from medical school at the University of California in San Francisco,

         completed my internal medicine residency at Brigham and Women's Hospital in Boston,

         and completed a fellowship at the Robert Wood Johnson Foundation Clinical Scholars

         program at the University of Michigan, where I also received my Master of Public Health.

    3. I oversee the Division of Prevention and Primary Care, which includes the Bureau of

         Chronic Disease Prevention and Tobacco Control.

    4. Cigarette smoking is the single leading cause of preventable death in the United States,

         killing over 480,000 people each year. U.S. Dept. of Health and Human Services, The

         Health Consequences of Smoking, A Report of the Surgeon General ("Surgeon Gen.
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            Rept."), at 11, 678 (2014), available at U.S. Dept. of Health & Human Services, Reports

            &                   Publications,                      Surgeon       General's                  Reports,

            http://www. surgeon genera I. gov/Ii hrary/reports/50-years-of-progress/.

       5. In New York State, tobacco use kills approximately 28,200 New Yorkers each year 1-a

            figure that well exceeds the number of deaths caused by alcohol, motor vehicle accidents,

            firearms, toxic agents, and unsafe sexual behaviors, combined. 2

       6. For the millions more living with a smoking-related disease, the health care costs are

            substantial. Surgeon Gen. Rept., at 11, 678.

       7. Each year, tobacco-related health care costs New Yorkers $10.4 billion. N.Y.S. Dept. of

             Health, Smoking and Tobacco Use - Cigarettes and Other Tobacco Products (last revised

             Nov. 2015), available at https://www.health.ny.gov/prevention/tobacco control/; see also

             RTI International, 2012 Independent Evaluation Report of the New York Tobacco Control

             Program, at 50 (2012) (estimating that New Yorkers spent roughly $10 billion annually on

             such costs).

       8. My division constantly reviews policies that would be appropriate to address reducing

             tobacco use and protecting public health in New York City, which has historically included

             a five-point approach focusing on evidence-based activities to reduce tobacco use.

       9. The five-point approach is comprised of taxation, legislation, cessation, education and

             evaluation.




1
  Centers for Disease Control and Prevention, Best Practices for Comprehensive Tobacco Control Programs- 2014,
at 110, available at bt1p:f/www.cdc.gov/1ohacco/s1atcandcommunity/hest practicc-./!)(11\/2014/com prchen~i vc.pdr.
2
 N.Y.S. Dcp't of Health, Bureau of Tobacco Control, StatShot Vo. 8, No. 3, Tobacco is the leading Cause of
Preventable              Death             (Apr.              2015),              available             at
hllps://www. heal th. ny. gov/prcvcnl ion/lohucco conlrol/rcpons/slalshol s/volu mdVn3 wbaeco lead in!! cause.pd f.


    Affidavit of Doctor Sonia Angell - (# Legal 6873105) - FINAL    -2 -                                081171162:11 PM
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    I 0. There is a strong body of evidence, especially for cigarette use, that shows that tobacco

         users are price-sensitive, and higher taxes on tobacco products decrease the demand for the

         affected products, thereby improving public health in both adults and in youth, both by a

         reduction in prevalence, the proportion of adults who are smoking, and a reduction in the

         amount of cigarettes consumed. Surgeon Gen. Rept. at 788.

    11 . In fact, raising cigarette prices "is one of the most effective interventions to prevent and

         reduce cigarette use." RTI International, 2011 Independent Evaluation Report of the New

         York Tobacco Control Program, at 40 (2011) (citation omitted); see also Institute of

         Medicine, Ending the Tobacco Problem: A Blueprint for the Nation, at 182 (2007); U.S.

         Dept. of Health and Human Services, How Tobacco Smoke Causes Disease: The Biology

         and Behavioral Basis for Smoking-Attributable Disease, A Report of the Surgeon General,

         at 654 (2010) (noting that "increases in the price of cigarettes through excise taxes . .. are

         an effective policy intervention to prevent smoking initiation among adolescents and young

         adults, reduce cigarette consumption, and increase the number of smokers who quit").

    12. For example, a ten-percent increase in cigarette price is estimated to reduce cigarette use

         among adults by approximately three to five percent. Frank J. Chaloupka & Rosalie

         Liccardo Pecula, The Impact of Price on Youth Tobacco Use, National Cancer Institute

         Monograph No. 14, at 194 (Nov. 2001). 3 The response of youths to price increases

         is even greater; a similar ten-percent price increase is estimated to reduce the number of

         youth smokers by at least six or seven percent. See Prevent All Cigarette Trafficking

         Act of 2007, and the Smuggled Tobacco Prevention Act of 2008: Hearing Before the

         Subcomm. on Crime, Terrorism,                          and Homeland Security of the H. Comm. on the


3 Available   at http://canccrconlrol.cancc r.!!ov/1crb/monographs/ 14/m 14 I 2.1xlf (last visited May I, 2015).


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            Judiciary, Serial No. 110-47, 52 (May 1, 2008) (Statement of Matthew L. Myers,

            President, Campaign for Tobacco-Free Kids).

       13. The State and City of New York- like the federal government, 49 other states, and

            District of Columbia-tax the sale and use of tobacco products, such as cigarettes. See

            N.Y. Tax Law § 470 et seq.; N.Y.C. Ad. Code ("Ad. Code")§ l l-1302(a)(l); Surgeon

            Gen. Rept., at 788.

       14. The federal cigarette tax is $1 .0 I per pack of cigarettes ($10.10 per carton).

       15. States and localities establish their own cigarette tax rates so that tax rates vary among

            jurisdictions. See, e.g., N.Y. Tax Law§ 471(1); 20 N.Y. Codes R. & Regs.§ 74.l(a)(2).

       16. The State and City of New York have each imposed a separate excise tax on packages

            (or "packs") of cigarettes (with certain exceptions not relevant here) that are possessed

            for sale or use within the State or City. See N. Y. Tax L. §§ 4 71, 4 71-a; Ad. Code § 11-

             1302(a)(l) and (2).4 Since July 1, 2010, the New York State cigarette tax has been $4.35

            per pack ($43.50 per carton). In contrast, the excise tax imposed by the State of Virginia

            for cigarettes sold there is only $0.30 per pack ($3.00 per carton). Code of Virginia §58. l -

             1000 et seq.

       17. The New York City cigarette tax is $1.50 per pack ($15.00 per carton).

       18. The revenue generated by such taxes is dwarfed by the actual health care costs associated

             with tobacco-related illnesses spent by New Yorkers.5


4
 The "use" of cigarettes is "any exercise of a right or power, actual or conslructive, including but not limited to receipt,
storage or any keeping or retention for any length of time." N.Y. Tax L. § 471-a; Ad. Code§ 11 - 1301(4).
5 Compare N.Y.S. Sen. Maj., Fin. Comm., Economic and Revenue Review (for FY 2016), at 7, 8 (Feb. 2015)
(identifying roughly $1.3 billion in collected cigarette and tobacco taxes), available at N.Y.S. Senate, 2015- 16 N.Y.S.
Budget, https://www.nyscnatc . gov/~ites/dcfault/lilcs/articlcs/allachmcnLs/Rev Forecast FY 16.pdf, with N.Y.S.
Dept. of Health, Smoking and Tobacco Use - Cigarettes and Other Tobacco Products (identifying $10.4 billion spent
by New Yorkers on tobacco-related health care costs; last revised Mar. 2016), available at
hllps://www.hcalth .ny.gov/prevention/tobacco conlrol/.


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      19. As different levels of state taxation have widened, tax avoidance and evasion practices

           have increased.          Surgeon Gen. Rept. at 79 I.           These practices include ..cross-border,

           Internet, and untaxed purchases on tribal lands"; bootlegging from low tax jurisdictions for

           resale in high tax jurisdictions; and large-scale organized smuggling. Id.

     20. In whatever form, these illegal trade practices hurt public health by thwarting the taxation

           scheme and thereby increasing smoking and the related health impacts. See Surgeon Gen.

           Rept. at 791; see al.w N.Y. Pub. Health Law§ 1399-ll ("Legislative Findings"). 6


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                                                                                                            Sonia Angell

 ~orn   to before me this
(l~ day of ~"~' L~\o




                    Harminderpal Singh Rana
                   Notery Public - 9'* of New VOite
                           RJohmond County
                       Reg. No. 02RA5079491
                   Commission expires Aprtl 21. 20   \°'


 6
   See also 2000 N.Y. S.N. 8177, § 1 (enacted Aug. 16, 2000) ("The legislature finds and declares that the shipmenl of
 cigarettes sold via the internet or by telephone or by mail order to residents of this state poses a serious threat to public
 health, safety, and welfare, to the funding of health care pursuant to the health care reform act of 2000, and to the
 economy of the state. The legislature also rinds that when cigarcnes are shipped directly to a consumer, adequate
 proof that the purchaser is of legal age cannot be obtained by the vendor, which enables minors to avoid the provisions
 of article 13-F of the public health law .... The legislature further finds that existing penalties for cigarette bootlegging
 arc inadequate. Therefore, the bill enhances existing penalties for possession of unstamped or unlawfully stamped
 cigarettes.").


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